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                        EXHIBIT 3
11/17/2020              Case 3:20-cv-01192-WHO     Document
                                             Filevine              25-5 Family
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                      Johnson v. Reimal Family Limited Partnership
                      Scott Johnson


              Activity


                            RE: 11-6-20 Message for Scott J. Reimal case
                      
                            From: Amanda Seabock amandas@potterhandy.com (mailto:amandas@potterhandy.com?
                            cc=JohnsonvWaylandPlaceZ6733898@projects.filevine.com)
                            To: catherine@corfeestone.com (mailto:catherine@corfeestone.com?
                            cc=JohnsonvWaylandPlaceZ6733898@projects.filevine.com), assistant@corfeestone.com
                            (mailto:assistant@corfeestone.com?cc=JohnsonvWaylandPlaceZ6733898@projects.filevine.com)
                            Assistant
                            Cc: alexish@potterhandy.com (mailto:alexish@potterhandy.com?
                            cc=JohnsonvWaylandPlaceZ6733898@projects.filevine.com) Alexis Handy,
                            johnsonvwaylandplacez6733898@projects.filevine.com
                            (mailto:johnsonvwaylandplacez6733898@projects.filevine.com)
                            Date: Sat, 14 Nov 2020 17:05:48 +0000

                            Catherine,

                            In the settlement agreement, you revised it to state that the defendants made the improvements. See the
                            attached. Now you’re claiming you need eighteen months and that Scott cannot visit during that time? To
                            the extent I ever took you at your word before I certainly do not now.

                            I will reopen this matter by/before Tuesday, November 17. At that point, I will not be able to honor the
                            $         and any settlement will likely be more. This is your clients’ final chance to settle this case.

                            Amanda




                            Amanda Seabock, Esq.
                            AmandaS@PotterHandy.com

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                            San Diego, CA 92111
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                            [photo of premier law firm Potter Handy, LLP’s awesome office building perched above the busy freeway]
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